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Robert J. De Groot, Esq.
60 Park Pl.

Newark, N.J. 07102

(973) 643-1930

Attorney for Plaintiff

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Fin E's ¢ : Civil Action

Plaintiff. : COMPLAINT

Vs.

YALE UNIVERSITY,
Yale-New Haven Hospital,
PETER SALOVEY,

JONATHAN HOLLOWAY,

Dr. PAUL GENECIN,

Dr. LORRAINE SIGGINS,
JOHN DOES 1-3,

JANE DOES 1-3,

Defendant.

Z.P., by and through her Attorney, Robert J. De Groot,

Esq., by way of Complaint, alleges the following:

1. Z.P. at all times relevant hereto was a resident of
the Township of Millburn, in the County of Essex,
in the State of New Jersey.

2. 2Z.P. is a person with a disability within the
meaning of the Americans with Disabilities Act
(ADA), the Rehabilitation Act of 1973 (Section
504), the Fair Housing Act (FHAA).
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3. Defendant Yale University (“Yale”) is a
congressionally- chartered nonprofit corporation
with its principal place of business in New Haven,
Connecticut. Yale and its programs and activities
receive federal financial assistance. Yale is a
public accommodation under 42 U.S.C. 12181, and is
subject to Title III of the ADA. As Defendant
operates programs, services and activities
receiving federal funds, it is subject to Section
504 of the Rehabilitation Act.

4. Defendant Peter Salovey was at all times relevant
hereto the President of Yale University.

5. Defendant Jonathan Holloway was at all times
relevant hereto the Dean of Yale College.

6. Defendant Lorraine Siggins was at all times
relevant hereto the Director of Mental Health and
Counseling at Yale Health.

7. Defendant Yale-New Haven Hospital is a chartered
nonprofit corporation with its principal place of
business in New Haven Connecticut. It receives
federal financial assistance. It is a public
accommodation under 42 U.S.C. 12181, and is subject
to Title III of the ADA. As Defendant operates
programs, services and activities receiving federal
funds, it is subject to Section 504 of the
Rehabilitation Act.

8. John Does 1-3 are individuals who are employed by
Yale- New Haven Hospital whose identities are not
yet known.

9. Jane Does 1-3 are individuals who are employed by
Yale University whose identities are not yet known.
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SUBJECT MATTER JURISDICTION

10. The United States District Court of New Jersey
has subject matter jurisdiction pursuant to
28 U.S.C. §1331 (federal question jurisdiction),
as this matter involves an allegation OF the
Defendants violated the Americans with
Disability Act. 42 U.S.C. 12101.

11. This Court has supplemental jurisdiction

pursuant to 28 U.S.C. §1367 to consider the
State causes of action alleged.

FACTS COMMON TO ALL COUNTS

 

12. Plaintiff was a Senior at Yale University and
lived on-campus during the school year when these
causes of actions arose.

13. The Plaintiff was an excellent student who also
participated in various in-school and after school
activities.

14. As an African American, the Plaintiff was an
Ethnic-minority on campus.

15. The Plaintiff has a history of clinical
depression.

16. In late 2016, there were a series of suicides by
Yale students.

17. The Plaintiff was disenchanted about the campus
returning to its “business as usual” atmosphere
after the deaths of these students.

18. On or about November 5, 2016, the Plaintiff
discussed her emotions with her religious advisor.

19. The advisor suggested that she should seek
medical advise at Yale Mental Health and
Counseling.
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20. Plaintiff then appeared at Yale Mental Health
and Counseling and was advised that she should
seek admission to the Yale- New Haven Hospital
for treatment

21. The Plaintiff followed Counseling’s advice and
sought treatment at the Yale-New Haven Hospital
Emergency Department.

22. The Plaintiff was advised that if she admitted
herself into the Hospital, she would meet with a
treatment team on the next business day.

23. The Plaintiff was never advised that she could be
held involuntarily after admission.

24. While there, the Hospital applied to commit the
Plaintiff involuntarily.

25.. The Hospital disclosed the Plaintiff’s
confidential medical information to one or more
of the Yale University Defendants.

26. Neither staff at the hospital nor Yale University
employees or representatives advised the
Plaintiff that she could request to leave the
hospital after three days, with hospital being
required to initiate proceedings under Conn. Gen.
Stat. 17a-506, to maintain commitment.

27. The Plaintiff’s parents arrived to the Hospital
shortly after learning that she was admitted.

28. The Plaintiff’s parents met with a Doctor anda
Social Worker. They were advised that the
Plaintiff was admitted via a “physician’s
emergency certificate” and that she could be kept
in the hospital for an additional two weeks.

29. The Plaintiffs’ parents asked for written
documents referencing their daughter’s rights to
challenge the involuntary admission.
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30. The Doctor and Social Worker advised the parents
the document could be found at the Yale Health
Center.

31s The Plaintiffs’ parents immediately went to Yale

Health where they presented a release for the
Plaintiff’s medical records and documents
related to the Physician’s Emergency
Certificate.

32 3 The Plaintiff’s mother returned three days later
to pick up the records from Yale Health. The
documents did not contain the Emergency
Certificate or information about the Plaintiff’s
challenging the involuntary admission.

oats To date, neither the Plaintiff nor her parents
have ever received a copy of the Physician’s
Emergency Certificate.

34. While at the Hospital, “Yale Health and School”
decided that the Plaintiff “should take a
medical leave” due to her health and the recent
suicides of two students.

35. This decision was made despite the Plaintiff’s
improved mood and coping skills. The effect of
the medical leave was to “withdraw” from Yale.

36. On November 11, 2017, the Plaintiff appealed the
decision to be placed on medical leave.

37. The Plaintiff noted that Yale was a refuge from
her stressful home environment and that her
environment away from Yale would be less
conducive to her recovery.

38. The Plaintiff asserted that she would never
physically hurt herself.

39. The Plaintiff concluded her letter stating:
“please let me continue to learn how not to be
afraid, continue to grow and become an adult who
is strong enough to make a better life for
herself. Please let me return to Yale and
continue to help myself.”
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40. Jonathan Holloway, the Dean of Yale College,
denied the appeal four days later on November
15, 2016.

41. On November 17, 2016 the Plaintiff was released
from the Hospital. She was not permitted to
finish the Fall 2016 semester or to start the
Spring 2017 semester.

42. The Plaintiff was forced to vacate her on campus
residence.

43. As a result of the Defendants’ actions, the
Plaintiff was unable to graduate with her
Glass.

44, The Defendants finally permitted the Plaintiff to
return to school for the fall 2017 semester,
thereby easing the conduct which violated her
various constitutional and statutory rights.

45. The Defendants’ actions had the effect of
ostracizing the Plaintiff from her peer group.

COUNT I- Discrimination in a Public Accommodation in Violation
of ADA 42 U.S.C. §12181 et. seq.

46. Plaintiff repeats and re-alleges the assertions
as if fully plead herein.

47. Defendants’ actions and practices, described
above, constitute discrimination under 42 U.S.C.
§12182 (a) and (b), in that the Defendants have
discriminated against Plaintiff on the basis of
Plaintiff’s perceived disability, with regard to
the full and equal enjoyment of Defendants’ goods,
services, facilities, privileges, advantages, or
accommodations. Defendants’ actions and practices
described above also constitute unlawful
discrimination under the various subparts of 42
U.5.C. $12182.
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48. Defendants have excluded Plaintiff from
participation in and denied her opportunity to
participate in or benefit from their programs,
services and activities based upon fear,
speculation and stereotype about her perceived
disability. 42 U.S.C. § 12102 (2) (c).

49. Defendants have treated Plaintiff unequally
compared to students that do not have a
disability. Defendants have also used criteria
and methods of administration that have the
effect of subjecting Plaintiff to discrimination
on the basis of her perceived disability that have
the purpose or effect of defeating or
substantially impairing the accomplishment of the
objective of its programs with respect to
individuals with disabilities and in particular
with respect to the Plaintiff.

50. Additionally, Defendants have failed to provide
a reasonable accommodation under the Americans
with Disabilities Act that would enable
Plaintiff meaningful access to Defendants’
services, programs or activities. Defendants’
decisions inter alia, to deny Plaintiff’s
requests to appeal the medical leave, to
not allow her to return to school and the
dormitory, failure to advise the Plaintiff of her
rights to challenge the inpatient stay, amount to
a failure to accommodate Plaintiff’s disability.

51. As a result of the Defendants’ violations of the
Americans with Disabilities Act, Plaintiff
sustained damages.

WHEREFORE THE PLAINTIFF DEMANDS Compensatory damages,

punitive damages, attorney costs and fees.
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SECOND CAUSE OF ACTION

Violation of Section 504 of the Rehabilitation
Act of 1973
(29 U.S.C. §794)

52. Plaintiff repeats the allegations of all of the
above paragraphs as if fully set forth herein.

53. As described above, the Defendants’ actions
inter alia, to deny Plaintiff’s requests to
appeal the medical leave, to not allow her to
return to school and the dormitory, failure to
advise the Plaintiff of her rights to challenge
the inpatient stay, violate Section 504 of the
Rehabilitation Act of 1973 as amended, 29 U.S.C.
§794 et. seq.

54. Defendants in their actions and practices above,
have discriminated against the Plaintiff, and
excluded her from participation in and denied her
the benefits of the Defendants’ programs, services
and activities because of Plaintiff’s perceived
disability.

55. Additionally, the Defendants have failed to
provide a reasonable accommodation under Section
504 of the Rehabilitation Act that would enable
Plaintiff’s meaningful access to Defendant’s
services, programs or activities. Defendants’
decision inter alia to deny Plaintiff’s requests
to appeal the medical leave, to not allow her to
return to school and the dormitory, failure to
advise the Plaintiff of her rights to challenge
the inpatient stay, violate Section 504 of the
Rehabilitation Act of 1973 as amended, 29 U.S.C.
794. seq.

56. As a result of Defendants’ violations of section
504, Plaintiff was damaged as detailed above.

WHEREFORE THE PLAINTIFF DEMANDS Compensatory damages,

punitive damages, attorney costs and fees.
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THIRD CAUSE OF ACTION
Violation of the Fair Housing Amendments Act
42 U.S.C. §3604 (f)

57. Plaintiff repeats and re-alleges the assertions
as if fully plead herein.

98. The Defendants’ actions and practices, including
evicting her from her dorm room and otherwise
severing her from the Yale community violate the
Fair Housing Amendments Act of 1988. In
particular, Defendants have violated Plaintiff's
rights under 42 U.S.C. §3604 (f) by
discriminating in the rental or otherwise making
unavailable or denying a room in the residence
hall to the Plaintiff because of her disability
status.

59. Defendants’ action constitute intentional
discriminatory treatment based on disability.
Defendants actions also have a disparate impact on
all individuals with mental disabilities.
Additionally, Defendants have failed to provide a
reasonable accommodation under the Fair Housing
Act that would enable Plaintiff meaningful access
to Defendants’ services or facilities.

60. As a result of Defendants’ violations of the
Fair Housing Amendments Act, Plaintiff has been
injured.

WHEREFORE THE PLAINTIFF DEMANDS Compensatory

damages, punitive damages, attorney costs and fees.
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FOURTH CAUSE OF ACTION
Common Law Invasion of Privacy

Plaintiff repeats and re-alleges the assertions
as if fully plead herein.

In treating the Plaintiff, the Yale-New Haven
Defendants and Lorraine Siggins became aware of
individually identifiable health information
about the Plaintiff.

The Hospital Defendants and Siggins disclosed
Plaintiff’s confidential information to
University staff without the knowing and
voluntary consent of Plaintiff.

This information was shared by and between the
University Defendants without the knowing and

voluntary consent of the Plaintiff.

As a result of Defendants’ violations, Plaintiff
has been injured.

This claim is brought against all Defendants.

WHEREFORE THE PLAINTIFF DEMANDS Compensatory damages,

punitive damages, attorney costs and fees.
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FIFTH CAUSE OF ACTION
BREACH OF CONFIDENTIAL RELATIONSHIP

Plaintiff repeats and re-alleges the assertions
as if fully plead herein.

In diagnosing and treating Plaintiff and
monitoring her progress, the Yale Hospital
Defendants and Dr. Siggins established a
confidential physician patient relationship with
the Plaintiff.

They disclosed the information to Yale University
staff without the knowing and voluntary consent of

the Plaintiff.

Therefore, Defendants breached Plaintiff’s
confidential relationship.

This claim is brought against all Defendants.

WHEREFORE THE PLAINTIFF DEMANDS Compensatory damages,

punitive damages, attorney costs and fees.

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SIXTH CAUSE OF ACTION
Violation of Conn. Gen. Stat. 17a-506.

Plaintiff repeats and re-alleges the preceding
paragraphs as if fully stated herein.

The Defendants issued a Physician’s Emergency
Certificate and held the Plaintiff involuntarily
for about fifteen days.

The Defendants failed to advise the Plaintiff
that she had a right to challenge the involuntary
admission through court process.

The Defendants violated this statute.

This claim is brought against all Defendants.
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WHEREFORE THE PLAINTIFF DEMANDS Compensatory damages,

punitive damages, attorney costs and fees.

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Robert DeGroot, Esq.
60 Park Pl.

Newark, N.J. 07102

Date: November 5, 2018

DESIGNATION OF TRIAL COUNSEL

 

Robert J. De Groot, Esq., hereby is destgmated as trial
counsel in the within matter.

 

Robert J. De Groot, Esq.
Date: November 5, 2018

JURY DEMAND
Robert J. De Groot, Esq., hereby demands a jury trial on
all the issues.
Robert J. De Groot, Esq.

Date November 5, 2018
